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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                             No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.




                                    [PROPOSED] ORDER

       Upon consideration of the Defendant’s Motion to Change Pretrial Detention Facilities in

Advance of Trial from the Washington D.C. Central Detention Facility (“CDF”) to the adjacent

Washington D.C. Correctional Treatment Facility (“CTF”), it is hereby

       ORDERED, that Mr. Sterlingov be transferred from the Washington D.C. Central

Detention Facility (“CDF”) to the adjacent Washington D.C. Correctional Treatment Facility

(“CTF”) on February ____, 2024 in advance of Mr. Sterlingov’s February 12, 2024, trial in the

United States District Court for the District of Columbia.


Dated this _____ day of February 2024.


                                             __________________________________
                                             HON. RANDOLPH D. MOSS
                                             UNITED STATES DISTRICT JUDGE
